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         EXHIBIT C
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                        Counsel for Defendant Meta Platforms, Inc.
                   18

                   19                              UNITED STATES DISTRICT COURT
                   20                           NORTHERN DISTRICT OF CALIFORNIA
                   21
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   22
                           Individual and Representative Plaintiffs,
                   23
                               v.                                      Trial Date: None
                   24                                                  Date Action Filed: July 7, 2023
                        META PLATFORMS, INC., a Delaware
                   25   corporation;

                   26                                   Defendant.

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                                                                                       AMENDED INITIAL DISCLOSURES
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                    1      DEFENDANT META PLATFORMS, INC.’S AMENDED INITIAL DISCLOSURES

                    2          Pursuant to Federal Rule of Civil Procedure 26(a)(1), Defendant Meta Platforms, Inc.,

                    3   (“Meta”) by and through its undersigned counsel, hereby provides these Amended Initial

                    4   Disclosures. These Amended Initial Disclosures are based upon presently available information,

                    5   based upon reasonable inquiry, and Meta reserves the right to supplement its disclosures as

                    6   provided in Federal Rule of Civil Procedure 26(e) or amend these disclosures upon further

                    7   investigation and discovery in this matter.

                    8          A.      Individuals Likely to Have Discoverable Information

                    9          The following list identifies individuals presently known to Meta who are believed to have

                   10   knowledge of facts relevant to the claim or defense of any party. Meta reserves the right to add or

                   11   remove individuals from its disclosures and to object to the deposition or trial testimony of any

                   12   individual identified in its disclosures, and to otherwise supplement its disclosures through the

                   13   course of discovery. Accordingly, Meta identifies the following:

                   14
                                  Name                       Address               Potentially Relevant Information
                   15
                                                   Unknown
                         Richard Kadrey                                         Information concerning Plaintiffs’
                   16                                                           copyrighted works allegedly used to
                         Sarah Silverman
                                                                                train Llama; copyright registrations
                   17    Christopher Golden                                     associated with Plaintiffs’ works
                   18    Michael Chabon                                         allegedly used to train Llama; injury
                                                                                allegedly sustained by Plaintiffs;
                   19    Matthew Klam                                           assignments of rights and licenses
                         David Henry Hwang                                      concerning Plaintiffs’ allegedly
                   20                                                           infringed works.
                         Rachel Louise Snyder
                   21    Ayelet Waldman
                   22    Ta-Nehisi Coates

                   23    Laura Lippman
                         Jacqueline Woodson
                   24
                         Junot Diaz
                   25    Andrew Sean Greer
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                                                                                              AMENDED INITIAL DISCLOSURES
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                    1   Current and/or former      Unknown                   Information concerning Plaintiffs’
                        publishers and/or                                    copyrighted works allegedly used to
                    2   agents of Plaintiffs                                 train Llama; copyright registrations
                    3   relating to the asserted                             associated with Plaintiffs’ works
                        works                                                allegedly used to train Llama; injury
                    4                                                        allegedly sustained by Plaintiffs;
                                                                             assignments of rights and licenses
                    5                                                        concerning Plaintiffs’ allegedly
                                                                             infringed works.
                    6
                        Hugo Touvron               To be contacted through   Information and documents concerning
                    7   Research Scientist at      counsel, Cooley LLP       background, development, and use of
                        Meta                                                 Llama 1, 2, and 3 by Meta, including
                    8
                                                                             model design architecture, and fine-
                    9                                                        tuning.
                        Aurélien Rodriguez         To be contacted through   Information and documents concerning
                   10   Former Software            counsel, Cooley LLP       background, development, and use of
                   11   Engineering Manager                                  Llama 1, 2, and 3 by Meta;
                        at Meta                                              management and oversight of
                   12                                                        development of Llama 1 and Llama 2;
                                                                             benchmarking tests.
                   13
                        Sergey Edunov              To be contacted through   Information and documents concerning
                   14   Director, AI Research      counsel, Cooley LLP       background, development, and use of
                                                                             Llama 2 and 3 by Meta; management
                   15                                                        and oversight of development of Llama
                                                                             2 and Llama 3.
                   16
                        Amrish Acharya             To be contacted through   Information and documents concerning
                   17   Finance Director, Meta     counsel, Cooley LLP       financial information regarding, and
                                                                             investment in, the Llama models.
                   18
                        Josh Ginsberg              To be contacted through   Information and documents concerning
                   19   VP, Corporate              counsel, Cooley LLP       marketing of the Llama models.
                        Marketing
                   20
                        Angela Fan                 To be contacted through   Information and documents concerning
                   21   Research Scientist         counsel, Cooley LLP       background, development, and use of
                                                                             Llama 2 and 3 by Meta; integration of
                   22
                                                                             Llama into products at Meta
                   23   Melanie Kambadur           To be contacted through   Information and documents concerning
                        Research Engineering       counsel, Cooley LLP       background, development, and use of
                   24
                        Manager                                              Llama 2 and 3 by Meta, including
                   25                                                        dataset selection and risk mitigations.
                        Joelle Pineau              To be contacted through   Information and documents concerning
                   26   VP, AI Research            counsel, Cooley LLP       background, development, and release
                   27                                                        of Llama 1; Llama 1 open license
                                                                             approach; artificial intelligence and
                   28                                                        neural networks; natural language
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                                                                                          AMENDED INITIAL DISCLOSURES
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                    1                                                             processing; large language models;
                                                                                  oversight of Fundamental AI Research
                    2                                                             (“FAIR”) team, including regarding
                    3                                                             Llama 1.
                         Mike Clark                To be contacted through        Information and documents concerning
                    4    Director, Product         counsel, Cooley LLP            development of Llama 2 and 3; risk
                    5    Management                                               and safety policies related to Llama 2
                                                                                  and 3 and implementation of the same.
                    6    Ahmad Al-Dahle            To be contacted through        Information and documents concerning
                    7    VP Gen AI                 counsel, Cooley LLP            background, development, release, and
                                                                                  use of Llama 2 and 3 by Meta;
                    8                                                             integration of Llama into products at
                                                                                  Meta; oversight of Generative AI
                    9                                                             (“Gen AI”) team, including regarding
                                                                                  Llama 2 and Llama 3.
                   10
                         Chaya Nayak               To be contacted through        Information and documents concerning
                   11    Director, Product         counsel, Cooley LLP            background, development, and use of
                         Management                                               Llama 2 and 3 by Meta; risk and safety
                   12                                                             policies related to Llama 2 and 3 and
                   13                                                             implementation of the same;
                                                                                  integration of Llama into Meta
                   14                                                             products.

                   15    Yann LeCun                To be contacted through        Artificial intelligence and neural
                         Chief AI Scientist        counsel, Cooley LLP            networks; natural language processing;
                   16                                                             large language models, including
                                                                                  training thereof; Meta’s decision to
                   17                                                             release Llama models under an open
                                                                                  license.
                   18

                   19          B.      Description of Relevant Documents within the Disclosing Party’s Possession,
                                       Custody or Control
                   20
                               The following list describes those documents, data compilations and tangible things
                   21
                        presently known to Meta that are in the possession, custody, or control of Meta that Meta may use
                   22

                   23   to support its claims or defenses, excluding documents that Meta may use solely for impeachment.

                   24   Meta’s description of such documents, data compilations and tangible items may depend on

                   25   discovery that has not yet been provided. Meta reserves the right to add or remove documents, data
                   26
                        compilations and tangible things from their disclosures and to object to any documents, data
                   27
                        compilations and tangible things described in their disclosures. Meta also reserves the right to rely
                   28
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                                                                                               AMENDED INITIAL DISCLOSURES
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                    1   on documents produced by Plaintiffs or third parties in this action to support its claims or defenses.
                    2   Accordingly, Meta describes the following:
                    3
                         Document Category                                       Location
                    4    Documents regarding technical details of the            Meta c/o Cooley LLP
                    5    Llama models, including its development and
                         the processes by which the model was trained
                    6
                         Documents sufficient to show how the Llama              Meta c/o Cooley LLP
                    7    models are used for research purposes and to
                         develop new services
                    8
                         Plaintiffs allegedly infringed works                    Plaintiffs and/or their counsel
                    9

                   10    Documents demonstrating copyright                       Plaintiffs and/or their counsel
                         registrations for Plaintiffs’ allegedly infringed
                   11    works

                   12    Documents evidencing injury to Plaintiffs and           Plaintiffs and/or their counsel
                         their works, or lack thereof
                   13
                         Documents concerning the licensing and                  Plaintiffs and/or their counsel
                   14
                         distribution of Plaintiffs’ allegedly infringed
                   15    works

                   16    Plaintiffs’ uses of Llama and other generative          Plaintiffs and/or their counsel
                         AI tools
                   17

                   18          C.      Claimed Damages

                   19          Meta has not asserted counterclaims against Plaintiffs. Meta reserves its right to seek

                   20   recovery of attorneys’ fees and costs in amounts to be determined at an appropriate stage, including
                   21   fees relating to the dismissal of various copyright claims in the Complaint.
                   22
                               D.      Insurance Agreements
                   23
                               Meta is presently unaware of any indemnity or insurance agreements, as defined in Fed. R.
                   24
                        Civ. P. 26(a)(1)(A)(iv), that may be relevant to this matter.
                   25

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                                                                                                     AMENDED INITIAL DISCLOSURES
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                    1   Dated: May 29, 2024                            COOLEY LLP

                    2

                    3                                            By:      /s/ Judd Lauter
                                                                       Bobby Ghajar
                    4                                                  Mark Weinstein
                                                                       Kathleen Hartnett
                    5                                                  Judd Lauter
                                                                       Liz Stameshkin
                    6                                                  Colette Ghazarian
                    7                                                  LEX LUMINA PLLC
                                                                       Mark A. Lemley
                    8
                                                                       CLEARY GOTTLIEB STEEN &
                    9                                                  HAMILTON LLP
                                                                       Angela L. Dunning
                   10
                                                                       Attorneys for Defendant
                   11                                                  META PLATFORMS, INC.
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                                                                                     AMENDED INITIAL DISCLOSURES
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                    1                                    CERTIFICATE OF SERVICE
                    2          The undersigned certifies that, on May 29, 2024, all counsel of record who have appeared
                    3
                        in this case are being served with a copy of the foregoing via electronic mail.
                    4

                    5
                                                                                  /s/ Colette Ghazarian
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                                                                                               AMENDED INITIAL DISCLOSURES
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